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stock and commodity exchanges. Furthermore, revenue growth in 2019                    expected to increase in 2021, presenting a potential opportunity for the
is expected to be supported by several large initial public offerings                 industry.
(IPOs) of private companies, such as Uber and Lyft, seeking to take
advantage of elevated equity valuations. As more companies go public,                 Investor uncertainty
industry operators will generate more revenue from IPO fees and annual                Rising uncertainty concerning the future price movements of financial
listing fees. Industry operators have also benefited in 2020 from an                  instruments and the general state of the economy. Rising uncertainty
increase in investor uncertainty caused by COVID-19 (coronavirus). This               can materialize in one of two ways. One is that it leads investors to
increase in uncertainty has led trading volumes to rapidly increase in                hesitate on making investments leading to lower revenue for industry
2020. Overall, industry revenue is expected to increase an annualized                 operators. The other is that large swings in asset prices causes higher
8.4 percent over the five years to 2021 to $20.6 billion, including growth            trading volumes. Investor uncertainty is expected to decrease in 2021.
of 8.0 percent in 2021 supported by rapidly increasing trading volumes.
Additionally, improved scalability of operations is expected to enable                Personal savings rate
industry profit to improve in 2020 and 2021 as well, as a result of                   The personal savings rate is highly correlated with the amount of
increased trading volumes. Profit margin is estimated to be 45.5                      consumer savings channeled into securities markets. A rise in the
percent in 2021.                                                                      personal savings rate generally indicates that consumers are increasing
                                                                                      their market investments, which benefits exchanges through higher
                                                                                      trading volume and clearing fees. The personal savings rate is expected
Over the five years to 2026, industry revenue is forecast to increase at              to decrease in 2021, posing as a potential threat to industry revenue.
an annualized rate of 3.7 percent to $24.7 billion. Trading volumes will
likely wane during the period as investor uncertainty surrounding the                 Regulation for Investment Management industries
coronavirus declines over the five years to 2026. However, industry                   Financial sector regulatory changes, such as the Dodd-Frank Wall Street
operators will likely continue to benefit from sustained demand for data              Reform and Consumer Protection Act, tend to reduce the profit of stock
they provide to investors. This will help mitigate slower demand for                  and commodity exchanges. Regulation, particularly in recent years, has
industry operators' services as a result of lower trading volumes.                    transformed the industry's competitive landscape, as well as the
                                                                                      composition of market participants and the trading activities of these
KEY EXTERNAL DRIVERS                                                                  participants. Higher industry competition as a result of legislative
                                                                                      change has put pressure on industry profit, particularly regarding
Corporate profit                                                                      clearing and transaction fees exchanges can charge. Regulation for the
Corporate earnings fundamentally drive trade volume on stock                          Investment Management industries is expected to increase in 2021.
exchanges. Investors buy and sell stocks based on quarterly and annual
results, while also speculating on future growth. Growing corporate                   Yield on 10-year Treasury Note
profit typically leads to higher trading volume across securities as                  Changes in the yield on 10-year Treasury notes generally reflect changes
investors seek returns and portfolio diversification. Corporate profit is             in the cost of borrowing money and the return on lending money in the




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domestic economy. Periods of rising interest rates indirectly dampen                  and taxes, is expected to decrease to 45.1 percent of industry revenue
demand for riskier investments, such as stocks and commodities, from                  over the five years to 2026.
which exchanges draw revenue. The yield on the 10-year Treasury note
is expected to increase in 2021.                                                      Though growth in personal savings and shifting preferences should
                                                                                      support trade volume over the five years to 2026, regulatory changes
                                                                                      that will come into effect during the five-year period may force market
Industry Outlook
                                                                                      participants to deleverage their investments and hold higher collateral
                                                                                      for trades. This could potentially dampen trading volume growth and
As economic uncertainty surrounding COVID-19 (coronavirus) dissipate
                                                                                      curtail industry revenue growth. Similarly, the Volcker Rule will
during the period, investor uncertainty is expected to decline. This is
                                                                                      continue to restrict proprietary trading for banks with federally insured
expected to result in declining trading volumes compared with 2020.
                                                                                      deposits; this will reduce transaction and clearing fees for industry
However, should the Federal Reserve regain confidence in the stability
                                                                                      exchanges. Regulators are also likely to increase their scrutiny of over-
of the economy as concerns surrounding coronavirus dissipate during
                                                                                      the-counter (OTC) derivatives markets, which could temper profit for
the period, potential interest rate increases could cause lead to
                                                                                      industry participants.
increased volatility in financial markets that operators would benefit
from. Improving macroeconomic conditions over the five years to 2026                  2021 Crypto Market: Year in Review 7
are also expected to lead corporate profit and research and
development expenditures to increase an annualized 2.6 percent and                    MARKET UPDATE
3.1 percent, respectively, over the five years to 2026. These trends are
expected to lead to increased demand for industry operators' services                 The crypto market exploded in early 2021, with bitcoin reaching an all-
for various data products they sell to businesses and investors during                time high of $65k in mid-April up from its $29K price at the beginning
the period. Exchanges are expected to continue to focus on expanding                  of the year. The growth was fueled by a number of converging factors.
their high-margin commodities and derivatives trading platforms, which
will increase trading volume during the five-year period as investor
                                                                                      Inflationary concerns highlight the need for good investing options to
preference for these asset classes grows. Overall, industry revenue is
                                                                                      store value. The public’s general familiarity with crypto and blockchain
forecast to increase at an annualized rate of 3.7 percent to $24.7 billion
                                                                                      continues to expand and opening a trading account to engage in crypto
over the five years to 2026. However, regulatory changes are
anticipated to temper growth in the industry's average profit margin. As              investing has become much easier compared to previous years.
a result, industry-relevant profit, measured as earnings before interest              According to a Gallup poll, 13 percent of U.S. investors between 18 and
                                                                                      49 own bitcoin, up from 3 percent in 2018. Players in the space continue
                                                                                      to add infrastructure and horsepower to their teams to continue to


7 As published by the BDO Asset Management Practice




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institutionalize their offerings. Coinbase held its IPO on April 14.                  on a blockchain, one might anticipate that as education increases,
Celebrities and respected business minds like Elon Musk continued to                  execution is refined, and a wider variety of collectibles are released,
tweet about the upside of crypto, and the list of large institutions                  more and more will buy NFTs.
investing into tokens and the blockchain ecosystem, including Tesla,
MicroStrategy, Paypal, Square, Visa, Morgan Stanley, and many high-                   As is familiar to crypto investors, 2021 has also been marked with
profile VC funds, has continued to grow.                                              volatility and corrections. From its $65k high in mid-April, bitcoin fell
                                                                                      below $30k in mid-July, marking an approximate 54 percent decline.
Ethereum has performed even better than bitcoin in 2021, starting the                 There were several factors contributing to the correction. Government
year at $731 and reached all-time highs in November, up 532 percent                   interest and involvement continues to be viewed as a key inhibitor to
as of November 3rd. The interest in Ethereum and other blockchain                     industry growth, with China again announcing it would be working to
protocols supporting smart contracts, particularly in the decentralized               reduce bitcoin mining. While most governments are still trying to figure
finance (“defi”) space, continues to expand as these tokens continue to               out how they can regulate crypto, at the same time these governments,
become a larger proportion of the overall crypto market cap. With so                  including China, continue to work on their own central bank digital
many future possibilities, defi has already begun to cut out rent-seeking             currency. According to the Atlantic Council, 81 countries, making up 90
middlemen, save time, and create more investing and financial                         percent of the world’s economy are in exploratory stages, with 5
structuring opportunities. Real meaningful change is starting to take                 countries in the Caribbean already launching and another 14 (including
place in a financial landscape that has remained relatively static                    China) in pilot phases. El Salvador officially adopted bitcoin as legal
compared to other areas in our lives.                                                 tender. Mr. Musk also continued to stay busy on twitter, this time noting
                                                                                      his concern over crypto mining energy consumption, although more than
Smart contract protocols also have made NFTs (non-fungible token)                     half the blockchains out there are proof of stake and don’t use energy
possible, and the NFT market really took off in Q1. While many of these               like bitcoin mining.
NFTs launched with a bang and have cooled off since launch, what is
clear is there is an appetite for digital collectibles, as people spend               Since its July low, bitcoin pricing has recovered, reaching new all-time
more time online cultivating their digital identity and status. It is                 highs in October. Reports noting large corporations like SpaceX,
unlikely that the trend of increasing time and money spent online will                Facebook, the NBA, MLB, and Amazon and their continued acceptance
reverse anytime soon. NBA Top Shot moments, CryptoPunks, digital art                  or new work on crypto or crypto-related projects has bolstered
sold on sites like Rarible and Open Sea, music, digital land titles, and              confidence. Traditional hedge funds, wall street institutions, and some
even tweets were sold as NFTs. Much like bitcoin where it took many                   of the most prestigious venture funds are continuing to heavily invest in
years for people to get comfortable with the concept of digital currency              the space, and the first bitcoin futures ETF was approved and began




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trading in October, with several other crypto ETF products awaiting
approval.




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APPENDIX VI. ASC 820 GUIDELINES                                                                liability or a group of assets and/or liabilities. Whether the asset or
                                                                                               liability is a standalone asset or liability or a group of assets and/or
                                                                                               liabilities is the unit of account. For the purposes of this analysis, the
ASC 820 Guidelines
                                                                                               unit of account is the aggregated group of assets that comprises the
The definition of fair value retains the exchange-price notion contained                       overall enterprise value of the Company.
in earlier U.S. GAAP definitions of fair value. The standard clarifies that
a fair value measurement assumes the asset or liability is exchanged in                        Exit Market
an orderly transaction between market participants to sell the asset or                        According to ASC 820, the principal market is the market in which the
transfer the liability at the measurement date. An orderly transaction                         reporting entity would sell the asset or transfer the liability with the
is a transaction that assumes exposure to the market for a period prior                        greatest volume and level of activity for the asset or liability. The most
to the measurement date to allow for marketing activities that are usual                       advantageous market is the market in which the reporting entity would
and customary for transactions involving such assets or liabilities. It is                     sell the asset or transfer the liability with the price that maximizes the
not a forced transaction (i.e. a forced liquidation or distress sale).                         amount that would be received for the asset or minimizes the amount
                                                                                               that would be paid to transfer the liability, considering transaction costs
In estimating the fair value of the assets, ASC 820 requires specific                          in the respective market(s). Since there is no active market for the
consideration of the following framework:                                                      Company or the unit of account, the principal market is the same
                                                                                               market as the asset was originally acquired in, that being identified
      Unit of account for the acquired assets;
                                                                                               through the sale of the Company, the overall mergers and acquisitions
      Exit market (i.e. the principal or most advantageous market)                             market.
      for the acquired assets;
                                                                                               Market Participants
      Market participants in the exit market;
                                                                                               According to ASC 820, market participants are buyers and sellers in the
      Highest and best use of the acquired assets;                                             principal or most advantageous market for the asset or liability that are:

      Valuation premise (In-use or In-exchange) for acquired assets;
                                                                                                   Independent of the reporting entity, that is, they are not
      Specific valuation techniques; and,                                                          related parties;

      Valuation inputs, including a fair value hierarchy.                                          Knowledgeable, having a reasonable understanding about the
                                                                                                   asset or liability and the transaction based on all available
Unit of Account
                                                                                                   information, including information that might be obtained
Under ASC 820, unit of account represents what is being measured by
                                                                                                   through due diligence efforts that are usual and customary;
reference to the level at which the asset or liability is aggregated (or
disaggregated)          for     purposes        of     applying   other   accounting               Able to transact for the asset or liability; that is, they are
pronouncements. The asset or liability might be a standalone asset or                              motivated but not forced or otherwise compelled to do so; and,




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      Willing to transact for the asset or liability; that is, they are                     participants.    Generally, assumptions about the highest and
      motivated but not forced or otherwise compelled to do so.                             best use of the asset should be consistent for all of the assets
                                                                                            of the group within which it would be used.
As such, the market participants for the Company include both financial
and strategic buyers that would incorporate the Subject Assets into                         In-exchange.     The highest and best use of the asset is in-
their existing operations.                                                                  exchange if the asset would provide maximum value to market
                                                                                            participants principally on a standalone basis. For example,
Highest and Best Use                                                                        that might be the case for a financial asset. If the highest and
A fair value measurement assumes the highest and best use of the asset                      best use of the asset is in-exchange, the fair value of the asset
by market participants, considering the use of the asset that is                            shall be measured using an in-exchange valuation premise.
physically possible, legally permissible, and financially feasible at the                   When using an in-exchange valuation premise, the fair value of
measurement date. In broad terms, highest and best use refers to the                        the asset is determined based on the price that would be
use of an asset by market participants that would maximize the value                        received in a current transaction to sell the asset standalone.
of the asset or the group of assets within which the asset would be used.
                                                                                        Because the highest and best use of the asset is determined based on

Highest and best use is determined based on the use of the asset by                     its use by market participants, the fair value measurement considers

market participants, even if the intended use of the asset by the                       the assumptions that market participants would use in pricing the asset,

reporting entity is different. The highest and best use of the asset                    whether using an in-use or an in-exchange valuation premise.
establishes the valuation premise used to measure the fair value of the
                                                                                        For the purpose of this analysis, the maximum value to market
asset.     Specifically, the highest and best use incorporates concepts
                                                                                        participants has been estimated as being principally derived through the
discussed in the following section.
                                                                                        use in combination with other assets as a group. Accordingly, the asset
      In-use. The highest and best use of the asset is in-use if the                    has been measured using an “in-use” valuation premise.
      asset would provide maximum value to market participants
                                                                                        Valuation Premise
      principally through its use in combination with other assets as a
                                                                                        The valuation premise used to measure the fair value of an asset
      group (as installed or otherwise configured for use).            For
                                                                                        depends on the highest and best use of the asset by market participants.
      example, that might be the case for certain non-financial
                                                                                        If the asset would provide maximum value to market participants
      assets. If the highest and best use of the asset is in-use, the
                                                                                        principally through its use in combination with other assets as a group
      fair value of the asset shall be measured using an in-use
                                                                                        (highest and best use is “in-use”), the asset would be measured using
      valuation premise. When using an in-use valuation premise, the
                                                                                        an in-use valuation premise. If the asset would provide maximum value
      fair value of the asset is determined based on the price that
                                                                                        to market participants principally on a standalone basis (highest and
      would be received in a current transaction to sell the asset
                                                                                        best use is “in-exchange”), the asset would be measured using an in-
      assuming that the asset would be used with other assets as a
                                                                                        exchange valuation premise. For the purposes of this analysis, the
      group and that those assets would be available to market




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maximum value to market participants has been estimated as being                          Level 3 inputs are unobservable inputs for the asset or liability.
principally derived through the use in combination with other assets as                   Unobservable inputs shall be used to measure fair value to the
a group. Therefore, the Subject Assets have been valued using an “in-                     extent that observable inputs are not available, thereby
use” valuation premise.                                                                   allowing for situations in which there is little, if any, market
                                                                                          activity for the asset or liability at the measurement date.
Valuation Technique
                                                                                      The valuation inputs incorporated herein are both Level 2 and Level 3
There are three fundamental techniques or approaches to valuing an
                                                                                      inputs, resulting in overall values for the Subject Assets as Level 3.
asset: the cost approach, income approach and market approach. Each
of the approaches is discussed in more detail in a previous section of
this report.

Valuation Inputs
ASC 820 defines inputs as the assumptions that market participants
would use in pricing the asset or liability, including an adjustment for
risk whenever market participants would include one in pricing the
related asset. To increase consistency and comparability in fair value
measurements and related disclosures, ASC 820 establishes a fair value
hierarchy that prioritizes the inputs used to measure fair value into
three broad levels, considering the relative reliability of the inputs. The
fair value hierarchy gives the highest priority to quoted prices
(unadjusted) in active markets for identical assets or liabilities (Level
1) and the lowest priority to unobservable inputs (Level 3). In some
cases, the inputs used to measure fair value might fall in different levels
of the fair value hierarchy. Descriptions of what constitutes each input
are as follows:

      Level 1 inputs are quoted prices (unadjusted) in active markets
      for identical assets or liabilities that the reporting entity has
      the ability to access at the measurement date;

      Level 2 inputs are inputs other than quoted prices included
      within Level 1 that are observable for the asset or liability,
      either directly or indirectly; and,




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APPENDIX VII. SCHEDULES                                                               APPENDICES

                                                                                      Appendix 1    Guideline Transactions – Operating Licenses
Schedule 1              Summary of Values
                                                                                      Appendix 2    Venture Capital Rates of Return
Schedule 2              Weighted Average Return on Assets
                                                                                      Appendix 3    Guideline Public Companies - Descriptions
Schedule 3              Historical & Projected Income Statements
                                                                                      Appendix 4    Guideline Public Company Metrics
Schedule 4              Historical & Projected Balance Sheets

Schedule 5              Internal Rate of Return

Schedule 6              Weighted Average Cost of Capital

Schedule 7              Net Working Capital

Schedule 8              Tax Depreciation Calculation

Schedule 9              Trade Names and Trademarks

Schedule 10             Comparable Royalty Rates

Schedule 11             Operating Licenses

Schedule 12             Contributory Asset Charges

Schedule 13             Economic Depreciation Calculation

Schedule 14             Assembled Workforce

Schedule 15             Contingent Consideration




                                                                                                                                                  A.0201
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FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                Schedule 1
Summary of Values                                                                                                                                                                                               ($US in Thousands)
As of November 14, 2021




    Total Consideration                                                                                          Transaction Details
(1) Cash consideration                                                         166,667                           Total Consideration Paid                                                  250,146
(2) Fair Value of Contingent Consideration                                      83,479                           Percentage Acquired                                                           80%
      Fair Value of 80% equity interest                                        250,146                           Strategic or Financial                                                   Strategic
(3)   Plus: Minority Interest                                                   62,537                           Deal Structure                                                        Non-Taxable
    Total Consideration [A]                                                    312,683



                                                                                    Acquired Assets / Liabilities
                                                                                       Percentage of Total
    Asset Category                                                         Fair Value       Consideration                          Schedule Reference                      Valuation Methodology

    Tangible Assets
    Net Working Capital                                                         31,503                   10.1%                                Schedule 7        Net Book Value - Per Management
    Fixed Assets                                                                   417                    0.1%                                Schedule 4        Net Book Value - Per Management
    Total Tangible Assets [B]                                                   31,920                   10.2%

    Intangible Assets
    Trade Names                                                                  1,400                    0.4%                                Schedule 9               Relief from Royalty Method
    Operating Licenses                                                         152,100                   48.6%                               Schedule 11                                   MPEEM
    Total Intangible Assets [C]                                                153,500                   49.1%

    Residual Goodwill [A] - [B] - [C]                                          127,263                   40.7%

Footnotes
    This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits
    included herein. Some totals may not add due to rounding.
(1) Per executed Share Purchase Agreement dated November 14, 2021.
(2) Equals FV of contingent consideration. See Schedule 15 for more details.
(3) Represents the 20.0 percent share of DigitalAssets DA AG previously acquired by FTX Trading Ltd. Equals the implied value of these shares taking into consideration the price paid for 80.0 percent of the shares.




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FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                   Schedule 2
Weighted Average Return on Assets                                                                                                                                                  ($US in Thousands)
As of November 14, 2021




                                                                                                                                      Percentage of
                                                                                                               After-Tax Rate of Business Enterprise              Weighted           Schedule
   Asset Category                                                              Estimate of Fair Value (2)                Return               Value                 Return          Reference

   Tangible Assets
   Normalized Net Working Capital                                                                      641                    7.0%                   0.2%               0.0%        Schedule 7
   Fixed Assets                                                                                        417                   10.5%                   0.1%               0.0%        Schedule 4
   Total Tangible Assets                                                                             1,058                                           0.4%               0.0%

   Intangible Assets
   Trade Names                                                                                       1,400                   37.5%                   0.5%               0.2%        Schedule 9
   Operating Licenses                                                                              148,300                   37.5%                  52.6%              19.7%       Schedule 11
   Total Intangible Assets                                                                         149,700                                          53.1%              19.9%

    Unidentified Intangible Assets
    Assembled Workforce                                                                              9,070                   37.5%                   3.2%               1.2%       Schedule 14
    Residual Goodwill                                                                              121,993                   38.5%                  43.3%              16.7%
(1) Total Residual Goodwill                                                                        131,063                                          46.5%              17.9%

   Business Enterprise Value                                                                       281,821                                         100.0%              37.8%



   Plus: Excess/(Deficit) NWC                                                                       11,725
   Plus: Cash and Cash Equivalents                                                                  19,136
   Total Consideration                                                                             312,683

   Transaction Rates of Return
   Weighted Average Return on Assets                                                                                                                                   37.8%
   Weighted Average Cost of Capital (Rounded)                                                                                                                          38.0%
   Internal Rate of Return (Rounded)                                                                                                                                   38.0%

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report
   and all the other exhibits included herein. Some totals may not add due to rounding.
(1) Goodwill represents the residual value after all identifiable intangible assets were valued; goodwill was not valued independently. Goodwill does not take into account any deferred tax assets
   or liabilities and the final goodwill amounts may differ from the number shown in the table. Goodwill includes indicated value of assembled workforce.
(2) Given that the transaction has been structured as a Non-Taxable (Stock) deal, the tax amortization benefit has been excluded from the estimated value of the intangible assets for the
   purposes of the WARA analysis. This has been done in order to make the WARA more comparable to the IRR given the transaction structure.


                                                                                                                                                                                                 A.0203
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FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                  Schedule 3
Historical & Projected Income Statements                                                                                                                  Page 1 of 2
As of November 14, 2021                                                                                                                           ($US in Thousands)



                                                                                                Projected Financials (1)
                                                                                                   FYE December 31
                                                                 2021               2022              2023             2024                2025                2026

   Revenue                                             $       11,892    $       56,411     $       62,052     $       80,667    $     121,001    $         205,701

   Cost of Goods Sold                                           3,417             3,959              4,355              4,790            5,269                5,796
   Gross Profit                                                 8,474            52,452             57,697             75,877          115,732              199,905

   Operating Expenses                                             833             5,652              6,217              8,083           12,124               20,611
   EBITDA                                                       7,641            46,800             51,480             67,794          103,608              179,294

   Depreciation Expense                                           -                 -                  -                  -                -                    -
   EBIT                                                         7,641            46,800             51,480             67,794          103,608              179,294

   Interest Expense                                             5,236             6,513              7,164              9,314           13,970               23,750
   Other Income/(Expense)                                       5,115             5,428              5,970              7,761           11,642               19,791
   Pretax Income                                                7,520            45,714             50,285             66,242          101,279              175,336



Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in
   conjunction with the accompanying report and all the other exhibits included herein. Some totals may not add due to rounding.
(1) Historical and projected financial data provided by Management. Financials converted from CHF to USD at a rate of 1.08 CHF to 1 USD per ExchangeRates.org as of
    the Valuation Date.
   Definitions: EBITDA - Earnings Before Interest, Taxes, Depreciation, and Amortization, EBIT - Earnings Before Interest and Taxes




                                                                                                                                                                      A.0204
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FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                   Schedule 3
Historical & Projected Income Statements - Common Size                                                                                                      Page 2 of 2
As of November 14, 2021



                                                                                              Projected Financials (1)
                                                                                                 FYE December 31
                                                                2021               2022             2023             2024                 2025                2026

   Revenue                                                     100.0%            100.0%            100.0%             100.0%            100.0%              100.0%

   Cost of Goods Sold                                           28.7%              7.0%               7.0%              5.9%               4.4%                2.8%
   Gross Profit                                                 71.3%             93.0%              93.0%             94.1%              95.6%               97.2%

   Operating Expenses                                            7.0%             10.0%              10.0%             10.0%              10.0%               10.0%
   EBITDA                                                       64.3%             83.0%              83.0%             84.0%              85.6%               87.2%

   Depreciation Expense                                          0.0%              0.0%               0.0%              0.0%               0.0%                0.0%
   EBIT                                                         64.3%             83.0%              83.0%             84.0%              85.6%               87.2%

   Interest Expense                                             44.0%             11.5%              11.5%             11.5%             11.5%               11.5%
   Other Income/(Expense)                                       43.0%              9.6%               9.6%              9.6%              9.6%                9.6%
   Pretax Income                                                63.2%             81.0%              81.0%             82.1%             83.7%               85.2%



Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in
   conjunction with the accompanying report and all the other exhibits included herein. Some totals may not add due to rounding.
(1) Historical and projected financial data provided by Management. Financials converted from CHF to USD at a rate of 1.08 CHF to 1 USD per ExchangeRates.org as of
    the Valuation Date.
    Definitions: EBITDA - Earnings Before Interest, Taxes, Depreciation, and Amortization, EBIT - Earnings Before Interest and Taxes




                                                                                                                                                                     A.0205
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FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                           Schedule 4
Historical Balance Sheets                                                          Page 1 of 2
As of November 14, 2021                                                    ($US in Thousands)



                                                                                     As of
                                                                               November 14
                                                                                     2021

   Cash and Cash Equivalents                                               $         19,136
   Accounts Receivable                                                                9,112
   Other Current Assets                                                               4,415
   Total Current Assets                                                             32,664

   Net Fixed Assets                                                                     417

   Other Long-Term Assets                                                           99,141
   Total Assets                                                                   132,222



   Accounts Payable                                                                    621
   Accrued Expenses and Deferred Income                                                876
   Other Current Liabilities                                                           541
   Total Current Liabilities                                                         2,037

   Other Long-Term Liabilities                                                     123,779
   Total Liabilities                                                              125,816

   Total Shareholders' Equity                                                       6,406
   Total Liabilities & Shareholders' Equity                                $      132,222

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in
   our report and the attached schedules. It must be read in conjunction with the accompanying
   report and all the other exhibits included herein. Some totals may not add due to rounding.


(1) Historical financial data provided by Management. Financials converted from CHF to USD at a
    rate of 1.08 CHF to 1 USD per ExchangeRates.org as of the Valuation Date.
(2) The Balance Sheet as of the Valuation Date was unavailable, therefore the Balance Sheet as of
    December 31, 2021 is being used as a proxy, per Management.



                                                                                                    A.0206
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FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                           Schedule 4
Historical Balance Sheets - Common Size                                             Page 2 of 2
As of November 14, 2021



                                                                                    As of
                                                                              November 14
                                                                                    2021

   Cash and Cash Equivalents                                                          14.5%
   Accounts Receivable                                                                 6.9%
   Other Current Assets                                                                3.3%
   Total Current Assets                                                               24.7%

   Net Fixed Assets                                                                     0.3%

   Other Long-Term Assets                                                            75.0%
   Total Assets                                                                     100.0%



   Accounts Payable                                                                    0.5%
   Accrued Expenses and Deferred Income                                                0.7%
   Other Current Liabilities                                                           0.4%
   Total Current Liabilities                                                           1.5%

   Other Long-Term Liabilities                                                        93.6%
   Total Liabilities                                                                  95.2%

   Total Shareholders' Equity                                                         4.8%
   Total Liabilities & Shareholders' Equity                                         100.0%

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in
   our report and the attached schedules. It must be read in conjunction with the accompanying
   report and all the other exhibits included herein. Some totals may not add due to rounding.

(1) Historical financial data provided by Management. Financials converted from CHF to USD at a
    rate of 1.08 CHF to 1 USD per ExchangeRates.org as of the Valuation Date.
(2) The Balance Sheet as of the Valuation Date was unavailable, therefore the Balance Sheet as of
    December 31, 2021 is being used as a proxy, per Management.



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                                                                      Case 23-50437-JTD                                   Doc 36-13               Filed 11/08/23                     Page 15 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                                                    Schedule 5
Internal Rate of Return                                                                                                                                                                                                                                             ($US in Thousands)
As of November 14, 2021



                                                                                                                                                        Projected Financials
                                                                                                                                                         FYE December 31
                                                                                              2021                 2022            2023              2024           2025                  2026              2027              2028              2029                       Residual

(1) Revenue                                                                         $       11,892    $       56,411      $      62,052    $       80,667     $     121,001     $     205,701     $      257,127    $     282,839     $     296,981                  $      305,891
       Revenue Growth                                                                           NA            374.4%              10.0%             30.0%             50.0%             70.0%              25.0%            10.0%              5.0%                            3.0%

(1) Cost of Goods Sold                                                                       3,417             3,959              4,355             4,790             5,269             5,796              7,245            7,970             8,368                           8,619
    Gross Profit                                                                             8,474            52,452             57,697            75,877           115,732           199,905            249,881          274,870           288,613                         297,271
       Gross Profit Margin                                                                   71.3%             93.0%              93.0%             94.1%             95.6%             97.2%              97.2%            97.2%             97.2%                           97.2%

   Operating Expenses                                                                          833             5,652              6,217             8,083            12,124            20,611             25,763           28,340            29,757                          30,649
   EBITDA                                                                                    7,641            46,800             51,480            67,794           103,608           179,294            224,118          246,530           258,856                         266,622
      EBITDA Margin                                                                          64.3%             83.0%              83.0%             84.0%             85.6%             87.2%              87.2%            87.2%             87.2%                           87.2%

(2) Depreciation                                                                               202               698                601               636               804             1,073              1,232            1,832             2,285                           2,057
    EBIT                                                                                     7,439            46,102             50,878            67,158           102,803           178,221            222,886          244,697           256,572                         264,565
       EBIT Margin                                                                           62.6%             81.7%              82.0%             83.3%             85.0%             86.6%              86.7%            86.5%             86.4%                           86.5%

(3) Taxes                                                                                      893             5,532              6,105             8,059            12,336            21,387             26,746           29,364            30,789                          31,748
    Net Operating Profit After Tax                                                           6,546            40,570             44,773            59,099            90,467           156,835            196,140          215,334           225,783                         232,817

    Plus: Depreciation                                                                         202               698               601                636               804             1,073             1,232             1,832             2,285                          2,057
(4) Less: Increase/(Decrease) in DFCFNWC                                                       -               2,401               304              1,004             2,176             4,569             2,774             1,387               763                            481
(5) Less: Capital Expenditures                                                                 119               564               621                807             1,210             2,057             2,571             2,828             2,970                          2,057
    Free Cash Flows                                                                          6,629            38,302            44,449             57,925            87,886           151,282           192,026           212,951           224,335                        232,337

   Partial Period Adjustment                                                                  0.13
   Present Value Period                                                                       0.06              0.63               1.63              2.63              3.63               4.63              5.63             6.63               7.63
   Present Value Factor @ 37.6%                                                              0.980             0.818              0.595             0.432             0.314              0.228             0.166            0.121              0.088
   Present Value of Free Cash Flows                                                $           836    $       31,339      $      26,432    $       25,034    $       27,604     $       34,534    $       31,858    $      25,676     $       19,658



    Sum of Present Value of Free Cash Flows                             222,970                                                                                                                                                       Residual Year Cash Flow              232,337
(6) Discounted Residual Value                                            58,851                                                                                                                                                             Capitalization Rate               34.6%
     Fair Value of Business Enterprise                           $     281,821                                                                                                                                                                   Residual Value            671,594
                                                                                                                                                                                                                                                      PV Factor              0.088
   Plus: Excess/(Deficit) NWC                                            11,725                                                                                                                                                 Present Value of Residual Value             58,851
   Plus: Cash and Cash Equivalents                                       19,136
   Fair Value of Invested Capital                                $     312,683

   Internal Rate of Return ("IRR")                                         38.0%



Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may not add due to
   rounding.
(1) Projected financial data provided by Management. Beyond 2026 revenue growth rates were tapered down to bring the business to a normalized level residual growth rate. 2027 to 2029 margins represent an average of the prior 5 years.
(2) Estimated depreciation is based on book value and provided by Management.
(3) Based on an estimated Federal and statutory blended tax rate of 12.0%.
(4) Change in DFCFNWC based on normalized working capital level of 5.4%. Refer to Schedule 7 for further detail.
(5) Capital expenditures assumed to be 1.0 percent of revenue.
(6) Residual Value calculated based on Gordon Growth Model.
   Definitions: EBIT - Earnings Before Interest and Taxes, EBITDA - Earnings Before Interest, Taxes, Depreciation, and Amortization, FYE - Fiscal Year End, DFCFNWC - Debt Free, Cash Free Net Working Capital




                                                                                                                                                                                                                                                                                A.0208
